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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

United States of America                         )
                                                 )
               v.                                )                  No. 1:21-cr-141-JL-01
                                                 )
Angela Calderon Morales AKA                      )
Manuela Navarrete                                )
______________________________________

                                           Indictment

The Grand Jury charges:

                                         COUNT ONE
                           [False Statements – 18 U.S.C. § 1001(a)(2)]

       1.      The “National Passport Center” is a facility operated by the United States

Department of State, Bureau of Consular Affairs, for the filing, processing, and adjudication of

United States Passport Applications (forms DS-11) and United States Passport Renewal

Applications (forms DS-82), which are used to apply for passport renewals by mail. The

National Passport Center is located at 207 International Drive, Portsmouth, New Hampshire.

       2.      Title 22, Code of Federal Regulations, Section 51.2 provides that a passport may

be issued only to a United States national. Under Title 22, Code of Federal Regulations, Section

50.1(d), a national is a citizen of the United States or a noncitizen owing permanent allegiance to

the United States. A non-citizen national is someone who was: (i) born in American Samoa or

Swain’s Island; (ii) found in American Samoa or Swain’s Island at a young age; (iii) a child of a

non-citizen United States national who meets certain physical presence or residence

requirements; or (iv) born in the Commonwealth of the Northern Marianas Islands and opted to

become a non-citizen national instead of a citizen of the United States. 8 U.S.C. §§ 1408,

1101(a)(29); Public Law 94 – 241 § 302.

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       3.        The defendant, Angela Calderon Morales AKA Manuela Navarrete, was

neither a citizen nor a national of the United States.

       4.        In and around September 2016, in the District of New Hampshire and elsewhere,

the defendant,

                                 Angela Calderon Morales AKA
                                      Manuela Navarrete,

in a matter within the jurisdiction of the United States Department of State, an agency of the

executive branch of the Government of the United States, knowingly and willfully made a

materially false, fictitious, and fraudulent statement and representation in connection with a

United States Passport Renewal Application (form DS-82). Calderon Morales executed the

passport renewal application, which was subsequently received at the National Passport Center.

To induce and secure the issuance of a United States Passport, Calderon Morales falsely stated

on the application a name, date of birth, and place of birth that were not her own. Calderon

Morales knew that this statement and representation was false when made.

       In violation of Title 18, United States Code, Section 1001(a)(2).

                                                         A TRUE BILL

                                                         /s/ Foreperson____________
                                                         Grand Jury Foreperson

JOHN J. FARLEY
Acting United States Attorney

/s/ Anna Dronzek__________
Anna Dronzek
Assistant United States Attorney

Date: August 30, 2021




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